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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                             UNITED STATES DISTRICT COURT                             June 28, 2024
                              SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

JOHN A. ROBINSON, JR.,                         §
                                               §
        Plaintiff,                             §
VS.                                            §    CIVIL ACTION NO. 4:24-CV-1175
                                               §
U.S. BANK TRUST N.A.,                          §
                                               §
        Defendant.                             §
                                               §

                                      FINAL JUDGMENT

       Plaintiff John Robinson, Jr. brought this suit against Defendant U.S. Bank Trust N.A. in

Texas state court. ECF No. 1. Defendant then removed it to this Court. Id. Defendant moved to

dismiss. ECF No. 7. The Court granted Defendant’s Motion to Dismiss at a hearing on June 26,

2024, for the reasons stated on the record.

       Pursuant to Federal Rule of Civil Procedure 58(a), and for the reasons set forth at the

hearing, final judgment is hereby ENTERED for Defendant U.S. Bank Trust N.A.

       IT IS SO ORDERED.

       Signed at Houston, Texas on June 28, 2024.


                                                    _______________________________
                                                    Keith P. Ellison
                                                    United States District Judge
